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Cerebral Hypoxia
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What is cerebral hypoxia?
Cerebral hypoxia is a neurological condition that happens when the brain doesn't get enough oxygen, even though there
is good blood flow. It is a medical emergency that can happen from many events where oxygen to the brain may be cut
off, such as from drowning, choking, suffocation, cardiac arrest, or head injury. Cerebral hypoxia can kill brain cells and
lead to brain damage and death.

Symptoms of mild cerebral hypoxia are:

     Having a hard time paying attention
     Poor judgment and decision making
     Memory loss
     Having a hard time controlling movement
     A change in skin color and/to the lips
When the brain goes longer than five minutes with low oxygen it can cause:

     Coma (a deep state of unconsciousness)
     Seizures (uncontrolled unwanted movements, sensations, or behaviors)
     Brain death (when there is no measurable activity in the brain)

Treatment involves restoring the flow of oxygen to the brain and depends on the cause of oxygen loss, but basic life
support services must be used, such as mechanical ventilation; blood produces to medications to support blood
pressure and heart rate; and medications to suppress seizures.

Most people who have a meaningful recovery have been only unconscious briefly. The longer someone is unconscious,
the higher the chances of death or brain death and the lower the chances of meaningful recovery. Long-term effects can
include vision problems, swallowing and speech difficulties, impaired thinking and judgment, personality changes, and
memory loss. During recovery, psychological and neurological abnormalities such as amnesia, hallucinations, memory
loss, and muscle spasms and twitches may appear and then resolve.




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                                                              Search Clinical Trials
  Clinical trials are studies that allow us to learn more about disorders and improve care. They can help connect patients with
                                                 new and upcoming treatment options.
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                                                     Search Clinical Trials



How can I or my loved one help improve care for people with
cerebral hypoxia?
Consider participating in a clinical trial so clinicians and scientists can learn more about cerebral hypoxia or brain injury.
Clinical research uses human volunteers to help researchers learn more about a disorder and perhaps find better ways
to safely detect, treat, or prevent disease.

All types of volunteers are needed—those who are healthy or may have an illness or disease—of all different ages,
sexes, races, and ethnicities to ensure that study results apply to as many people as possible, and that treatments will be
safe and effective for everyone who will use them.

For information about participating in clinical research visit NIH Clinical Research Trials and You. Learn about clinical
trials currently looking for people with cerebral hypoxia at Clinicaltrials.gov, a database of current and past clinical
studies and research results.


  Where can I find more information about cerebral hypoxia?
  Information may be available from the following resources:

  MedlinePlus

  PubMed



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     Dementias
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